                                        United States District Court
                   MIDDLE                                         District of                               TENNESSEE

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                            V.
                                                                            Case Number:           3:11-00112-3
         ADAM YATES
                                                                            USM Number:            20788-075

                                                                            Peter J. Strianse
                                                                            Defendant’s Attorney
THE DEFENDANT:
   X        pleaded guilty to Count One of the Superseding Information
            pleaded nolo contendere to count(s)
            which was accepted by the court.
            was found guilty on count(s)
            after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                     Offense Ended                Count
18 U.S.C. § 4                         Misprison of a Felony                                                 March 30, 2010           I




        The defendant is sentenced as provided in pages 2 through             5         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)
          Counts                                                   of the Indictment are dismissed on the motion of the United States.

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States Attorney of material changes in economic circumstances.



                                                                                      June 11, 2012
                                                                                      Date of Imposition of Judgment



                                                                                      Signature of Judge


                                                                                      Kevin H. Sharp, United States District Judge
                                                                                      Name and Title of Judge


                                                                                      June 21, 2012
                                                                                      Date




               Case 3:11-cr-00112               Document 113             Filed 06/21/12             Page 1 of 5 PageID #: 295
                                                                                                       Judgment – Page      2           of     5
DEFENDANT:                    ADAM YATES
CASE NUMBER:                  3:11-00112-3

                                                                       PROBATION

The defendant is hereby sentenced to probation for a term of 36 months with the first 12 months of probation being served in home
detention (see Special Conditions of Supervision for the terms of home detention).


The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined
by the court.

                    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
                    substance abuse. (Check, if applicable.)

      X             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon (Check, if
                    applicable.)
      X             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
                    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
                    is a student, as directed by the probation officer. (Check, if applicable.)

                    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

       If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
          paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
          court; and

13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with
          such notification requirement.


                Case 3:11-cr-00112                 Document 113                Filed 06/21/12 Judgment
                                                                                                Page– Page
                                                                                                       2 of 5 3PageIDof#: 296
                                                                                                                            5
DEFENDANT:          ADAM YATES
CASE NUMBER:        3:11-00112-3


                                 SPECIAL CONDITIONS OF SUPERVISION

1.   The Defendant shall be on home detention for 12 months of supervision beginning as soon as practicable from
     time of sentencing. While on home detention, the Defendant is required to remain in his residence at all times
     except for approved absences for gainful employment, community service, religious services, medical care or
     treatment needs and such other times as may be specifically authorized by the Probation Officer.

2.   Defendant shall pay a fine in the amount of $10,000.00. Payments shall be made payable to the Clerk, U.S.
     District Court, 801 Broadway, Suite 800, Nashville, TN 37203. Payment of the fine is due immediately. Should
     there be an unpaid balance when probation commences, the Defendant shall pay the remaining fine at a minimum
     monthly rate of 10 percent of the Defendant’s gross monthly income. No interest shall accrue as long as
     Defendant remains in compliance with the payment schedule ordered.

3.   The Defendant shall participate in an outpatient program of drug testing and substance abuse treatment. The
     Defendant shall pay all or part of the cost for substance abuse treatment if the Probation Officer determines the
     Defendant has the financial ability to do so or has appropriate insurance coverage to pay for such treatment.

4.   The Defendant shall furnish all financial records, including, without limitation, earnings records and tax returns,
     to the United States Probation Office upon request

5.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices or
     other dangerous weapons.

6.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




         Case 3:11-cr-00112         Document 113        Filed 06/21/12      Page 3 of 5 PageID #: 297
                                                                                              Judgment – Page    4        of        5
DEFENDANT:                ADAM YATES
CASE NUMBER:              3:11-00112-3


                                             CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                          Assessment                                      Fine                                  Restitution
TOTALS                    $100                                            $10,000                               $



                 The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will
                 be entered after such determination.

                 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                 otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                 victims must be paid before the United States is paid.

Name of Payee                            Total Loss*                                 Restitution Ordered                  Priority or Percentage




TOTALS                              $                                     $

                 Restitution amount ordered pursuant to plea agreement $

                 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                 the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
                 of Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

   X             The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     X     the interest requirement is waived for the           X      fine               restitution, as long as Defendant remains
                 in compliance with the payment schedule.

                            the interest requirement for the                  fine            restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




              Case 3:11-cr-00112              Document 113             Filed 06/21/12           Page 4 of 5 PageID #: 298
                                                                                                   Judgment – Page      5        of       5
DEFENDANT:                   ADAM YATES
CASE NUMBER:                 3:11-00112-3

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A            X               Lump sum payment of $100(Special Assessment) and $10,000 (Fine) due immediately, balance due

                                         not later than                        , or
                                 X       in accordance                C,                  D,                  E, or         X      F below; or

B                            Payment to begin immediately (may be combined with                     C,          D, or            F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within             (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
                             that time; or

F             X              Special instructions regarding the payment of criminal monetary penalties:

         Should there be an unpaid balance upon the commencement of probation, the Defendant shall pay the remaining fine
         at a minimum monthly rate of 10 percent of the Defendant’s gross monthly income. No interest shall accrue as long as
         Defendant remains in compliance with the payment schedule ordered.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


                    Joint and Several

                    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                    Amount, and corresponding payee, if appropriate.



                    The defendant shall pay the cost of prosecution.

                    The defendant shall pay the following court cost(s):

                    The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.




                  Case 3:11-cr-00112              Document 113              Filed 06/21/12           Page 5 of 5 PageID #: 299
